Case 2:04-CV-02464-BBD-STA Document 15 Filed 05/19/05 Page 1 of 2 Page|D 19

la
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE l'§li? l 74 751 '§?: =‘:
WESTERN DIVISION

. i.--.. '
:..;i_:; U.S. J!Si. t.f§.
,-'lEtf,i'-J;7 ff:fr

l
r
`=JJ_{'“J ij“i: "£'§`»i, T\

 

SHARNEENA R. NIXON, )

Plaintil`f, §
vs. § NO.: 04-2464-D-An
JOHN E. POTTER, §

Defendant. §

 

ORDER RE-SETTING SCHEDULING CONFERENCE

 

Pursuant to an Order Re-Setting Scheduling Conference dated Mareh 7, 2005 a
Scheduling Conference was set for April 14, 2005. Plaintifl`, Sharneena R. Nixon, proceeding
pro se Was present and advised the Court that she has served the Defendant in this matter.

For the reasons set forth and for good cause shoWn, the Scheduling Conference in this
matter shall be reset to WEDNESDAY, JUNE 10, 2005 at ]0:00 a.m.

lt shall be Ms. Nixon’s duty to notify Defendant or Defendant’s counsel oi" the setting of
the Rule lé(b) Scheduling Conference.

IT lS SO ORDERED.

<§Tmm @.¢~.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: -p/l/P-; /FI. 2005/-

llii§ dasuinent emmer on the doekm§heet in complied ca
with ama 58 ana/or wm FHCP on * [Z-'O §

@

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l5 in
case 2:04-CV-02464 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

éssEE

 

William W. Siler

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Cynthia Ray Eggleston

UNITED STATES POSTAL SERVICE
225 North Humphreys Blvd.

l\/lemphis7 TN 38166--017

Sharneena R. NiXon
45 5l Crump Road
l\/lemphis7 TN 3 8141

Honorable Bernice Donald
US DISTRICT COURT

